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      October 04, 2021                                                                                                       FILED
  CLERK, U.S. DISTRICT COURT
  WESTERN DISTRICT OF TEXAS                                                                                             October 04, 2021
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BY:_______________________________
                                                                                                                      WESTERN DISTRICT OF TEXAS
                        DEPUTY
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                                                      IN THE U.S. FEDERAL DISTRICT COURT
                                                          WESTERN DISTRICT OF TEXAS
                                                                AUSTIN DIVISION

                         USA                                                 21-cv-796

                         v                                                   Honorable Judge Robert Pitman

                                                                             Related Case: 1:21-cv-00616-RP
                         TEXAS                                               Cause:        28:1345 USA Plaintiff




                            GOMEZ FRCP 24(a) or (b) MOTION TO INTERVENE AS DEFENDANT, AND
                          FOR FORUM NON CONVENIENS DISMISAL WITHOUT PREJUDICE DUE TO STATE
                                COURT MATTER GOMEZ v BRAID, et al., 21CI19920 (Bexar Co.).

                                     State Court Plaintiff Felipe Gomez, plaintiff in the first S.B. 8 suit, Gomez v Braid

                      21CH19920, Bexar Co., Texas et al, moves this Court for leave to intervene in this

                      action as of right, pursuant to Federal Rule of Civil Procedure 24(a)(2) or, alternatively,

                      in permissive intervention pursuant to Federal Rule of Civil Procedure 24(b), and also

                      MOVES that this matter be DISMISSED WITHOUT PREJUDICE on Forum Non

                      Conveniens grounds, where the same issues are before a State Judge, as to the issues

                      already leading to the TRO already issued by Judge Gamble in Planned Parenthood v

                      RTL, and as grounds therefore states as follows:

                                            A. INTERVENTION

                      1.                 Intervener Gomez is plaintiff in the 9.20.21 filed Gomez v Braid, 21CI19920, a

                                        copy of which 9.23.21 First Amended Complaint, sounding under the Texas

                                        Declaratory Judgement Act, and S.B. 8, the “Texas Heartbeat Act”, and

                                        adding instant Plaintiff USA and instant Defendant Texas, as well as local

                                        provider Planned Parenthood, therein is attached. Attachment A - 9.23.21
     First Amended Complaint.



2.   On 9.30.21, Texas moved to dismiss this federal action, claiming, relevant to

     Gomez state court action, inter alia, that this Court has no right to bar

     lawsuits such as Intervenor Gomez’s attached lawsuit. See 19cv796 Docket

     [54] at 5-8.



3.   That assertion, and many others made therein, is directly determinative of

     Gomez’s ability to proceed with his state action, and Texas and USA are not

     in the unique position as Gomez is as an actual private party, instead of the

     that fictional party hypothesized by Texas motion to dismiss.



4.   The Motion to Intervene is timely because the litigation is in its early stages,

     with the defendants’ motion to dismiss filed just yesterday, and initial

     hearing having been held on 10.1.21, and, on information and belief, the

     Motion to Dismiss yet to be presented and set for briefing, thus, intervention

     at this juncture will not prejudice the existing parties.



5.   Movant has a substantial legal interest in the subject matter of the action,

     including having it heard in State Court, because it and his state matter

     involve similar or identical claims asserted under Constitutions of the USA

     and Texas, and laws enacted thereunder, as well as the Supremacy,
     Commerce, Privacy and Due Process clauses of the USA Constitution as

     balanced against State’s Rights and those of the Citizens of both.



6.   Disposition of the action without the Gomez being able to move to transfer

     to State Court, or to respond to the TRO request and Motion to Dismiss as it

     affects his lawsuit, and a person’s right to bring it, may impede its

     prosecution and related interests. Because there are no cases interpreting

     S.B. 8, the outcome of this case implicates the need to see issues from the

     viewpoint of an actual litigant, whose case came before Intervenor Stilley

     [40] and has a different structure that will not be addressed by his defense of

     his right to bring, or the lack of that right, as to his State action.



7.   Consequently, Gomez interests are not adequately protected by the existing

     parties to the litigation, none of whom have sought to have the matter

     transferred to state court.



8.   Gomez also satisfies the requirements for permissive intervention because

     his claims in the State Court matter have questions of law and fact in

     common with the claims and facts at issue in this action, and the action

     involves the interpretation of the same statutes and cases, especially Roe.
9. As further support for this Motion, and as Intervenor Stilley did in his Motion [31],

      Gomez adopts the caselaw in the Motion and Memorandum [28] submitted by the

      first three intervenors, as entitling him to intervene as was allowed them and

      Oscar Stilley [40].

          II. FORUM NON CONVENIENS

10.          Proposed Intervenor Gomez asserts that this matter does not belong in this

      Court at all, let alone that any TRO should issue (here), which, as a general matter,

      all parties other than the USA appear to assert as the pleadings on file indicate,

      including the 9.30.21 late-filed Texas motion to dismiss [54],and Intervenors Tilley

      et al. [28, 43, 44, 48].



11.          Proposed Intervenor cites in support of this motion, to Piper Aircraft Co. v.

      Reyno, 454 U.S. 235 (1981)(So long as there was a remedy available in the alternate

      forum, it did not matter if the remedy was clearly insufficient); Sinochem Int’l Co. v.

      Malaysia Int’l Shippingcorp. (No. 06-102), 436 F. 3d 349, reversed and

      remanded(federal court may hear and pass a ruling on a forum non conveniens

      claim even if that court does not necessarily have subject-matter jurisdiction or

      personal jurisdiction over the case in front of the court); and Atlantic Marine

      Construction Co. v. U.S. District Court for the Western District of Texas, 571 U.S. 49

      (2013)(doctrine of forum non conveniens, not 28 U.S.C. 1404(a), should be used

      when a defendant moves for transfer of a federal action to a state court).
12.          As to the forum non conveniens balancing test, Gomez asserts the balance

      favors, on all factors, transfer to Gomez v Braid, 21CI 19920, which was the first SB

      8 case filed, and states as to that multi-part test as follows:

            A. Private Factors

              I     Ease of access to evidence/ease of obtaining witnesses: While
                    “evidence” is not needed here in 21cv796, it is relevant to the (3)
                    state court matters if they are allowed to proceed, discovery would be
                    had there as a matter of course, and the parties at issue, Dr, Braid,
                    Texas RTL, on info and belief the patient Jane Roe II, and the facility
                    are all located in or near San Antonio, so this factor here favors
                    transfer.

               2.   Interest of parties in their connections with the respective forums:
                    Clearly, Texas has an interest in having its courts address a Texas
                    state law that has been directly challenged, albeit by “saboteurs”, and
                    where Judge Gamble has already issued a similar TRO to that sought
                    by USA here on 9.3.21 (Planned Parenthood Texas v Texas Right to
                    Life, D-1-GN-21-004632).

                    Both Movant and Intervenor Stilley have a clear interest in proceeding
                    in state court, exemplified by the complaints already filed there, this
                    federal matter distracting both plaintiffs there due to needed to try to
                    preserve rights here.

                    USA appears to lack standing to even be addressing this Court, at
                    least as Plaintiff, and given that Movant and Oscar Stilley are already,
                    and would be the ones suffering the harm in the event this matter
                    lingers here when it should be in state court, let alone should a TRO
                    issue here when the State Courts have already been willing to and
                    have issued a TRO that is directly binding on the parties before her, as
                    would any TRO or denial in the current state court matters.

                    USA is a defendant in Movant’s state case, thus the interest factor is
                    attenuated as to USA, as it is obligated to appear in the state case
            once served, thus the factor clearly favors transfer to consolidate the
            various claims in one place.

     3.     Plaintiff's chosen court would be burdensome to the defendant:
            The USA is a defendant in 21CI 19920, thus it is clearly a burden to
            force Movant to file duplicative counterclaims here, and pursue the
            USA in 2 forums for the same claim.

B.         Public Factors

      1.    Multiple sets of laws/jury confusion/jury conflicts: While there is no
            jury involved here, there is a confusing, or at least complex,
            intersection between federal procedural and state substantive law
            that is best decided by the State first, as it is a State law, and thus a
            decision either way here could cause similar confusion, and a lot of
            potentially unneeded confustication by this Court and those above,
            and the confusion factor favors transfer.

     2.     Local interest - being heard/having trial where state laws govern:
            The law under attack is a State law, and clearly only applies to Texans
            as far as the ban on abortions (albeit not so for random plaintiffs as
            are present here), and Judge Gamble already has found it potentially
            wanting, but also not having a “live” S.B. plaintiff and defendant
            before her to have full relief there, where complete relief aligned
            directly with SB 8 and Texas and a putative plaintiff and defendant
            can be had in 21CI 19920, and where USA is free to amicus, and then
            paricipate if and when SCOTUS gets it, once State appeals are
            exhausted as is required before that event can occur, and which
            transfer will facilitate, freeing his Honor to address other pressing
            cases.

3.          Adequate Alternative Inquiry Test: The alternate court offered is
            clearly able to hear the case, the first amended complaint having
            been accepted and filed, and the alternate court has the ability to
            provide a remedy in keeping with Judge Gamble, or contrary to same,
            thus affording both parties the same opportunity to have the
            competing claims heard and decided by a court of competent
                    jurisdiction, with personal and subject matter over the claims as well
                    as parties here, once all are joined therein.


13.          As noted and public record indicates, there are three state cases already

      ongoing, including the one where Judge Gamble has already issued a narrow TRO

      against a party of interest here, and its operatives.



14.          Movant’s is the first filed by a putative litigant under S.B. 8, and thus is the

      forum where the issues being briefed here should be heard as a matter of logic,

      fact, and law as set forth herein.



15.          Gomez has conferred at some length with Texas, and intervenor Stilley, as to

      these motions. Gomez has received lack of objection from Oscar Stilley as to

      intervention, and no position as to the change of venue, which is also confirmed as

      a lack of objection, reserving any position for the moment.



           Texas stated it is not opposed to intervention or the forum non conveniens

request, as long as the request is for dismissal, not transfer, there being no

mechanism for the latter, citing Atl. Marine Const. Co., Inc. v. U.S. Dist. Court for W.

Dist. of Tex., 571 U.S. 49, 60 (2013); see also Manufacturers All. Ins. Co. v. B&B

Transp., LLC, No. 1:18-cv-13-RP, 2018 WL 7288577, at *4 (W.D. Tex. Dec. 14, 2018)

(Pitman, J.) (“Because B&B asserts its motion to transfer solely on forum non

conveniens grounds and requests that this action be refiled in state court, the Court
will construe B&B’s motion as a motion to dismiss for forum non conveniens.”),

which Movant also cites in support.



             Movant has not heard back from inquires to USA or the RTL intervenors.



16.          WHEREFORE, GOMEZ MOVES this Court allow his Intervention and to

      dismiss without prejudice, under forum non conveniens, due to the more

      appropriate forum Gomez v Braid, 21 CI 19920, (Bexar Co., Tx), or if “change of

      venue” dismissal not on the merits, is denied, grant leave to file a response to the

      Motion to Dismiss and participate in the hearing thereon, to the extent it does and

      as it affects his state case, and to otherwise participate in the federal matter as this

      Court sees fit and may allow as the case proceeds to speak to the state case from

      the perspective as an actual litigant there, if in fact the parties simply do not take

      these important issues up there.



          Submitted By: s/Felipe N. Gomez, Pro Se          10.4.21

                                      CERTIFICATE OF SERVICE



         I hereby certify that on 10.4.21 a true and correct copy of the foregoing has been

      served by the Notice of Electronic Filing, and was electronically filed with the Clerk

      of the Court via the CM/ECF system, which generates a notice of filing to all those

      appearing.

/s/ _Felipe N. Gomez 10.4.21_
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        ATTACHMENT A

FAC Gomez v Braid et al. 21 CI 19920
FILED
9/23/2021 10:52 PM
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Shaamid Gaitan
Bexar County - 224th District Court

                                          IN THE DISTRICT COURT OF TEXAS
                                                   BEXAR COUNTY

                 Felipe N. Gomez                              Case No: 21CI 19920
                 Taxpayer/Pro Choice Plaintiff
                                                              Uniform Declaratory Judgment Act, TCPRC Sec. 37
                 v.                                           Texas Heartbeat Act (S.B. 8) Sec. 171.208


                 Dr. Alan Braid,
                 Provider
                 Planned Parenthood, So. Austin
                 Provider
                 United States of America
                 Interested Party
                 The State of Texas
                 Interested Party




                                                 FIRST AMENDED COMPLAINT


                        NOW COMES FELIPE GOMEZ a U.S.A. Citizen, and “person”, as defined in Texas
               Heartbeat Act, Sec. 171.208, and per Tex. Civ. Prac. & Rem. Code Ann Sec 37
               (Declaratory Judgement Act) as to interpreting S.B. 8, and Sec.171.208 COMPLAINS
               and PRAYS as follows:


               1.       On information and belief Texas resident Defendant Dr. Alan Braid, 4499
                        Medical Drive, 230, San Antonio, TX 78229, admitted he performed an abortion
                        in Texas on or about 9.6.21 where his patient was more than 6 weeks pregnant,
                        and/or where the fetus had a detectable heartbeat, which Sec. 171.208(a)(1)
                        declares is illegal.


               2.       On information and belief, Defendant Planned Parenthood, South Austin
                        Abortion Center, Austin TX, also has performed abortions past the 6 week
                        deadline or when there was a detectable heartbeat, after 9.1.21, which S.B. 8
     also holds is illegal.


3.   Plaintiff, a USA citizen and llinois resident, is not coordinating with Right to Life
     or and Pro or Anti abortion group, is acting independently, and is a “person” as
     defined in the Texas Hearbeat Act, which provides in relevant part:
            “Sec. 171.208. (CIVIL LIABILITY FOR VIOLATION OR AIDING OR
            ABETTING VIOLATION). (a) Any person, other than an officer or
            employee of a state or local governmental entity in this state, may bring a
            civil action against any person who: (1) performs or induces an abortion
            in violation of this subchapter; (b) If a claimant prevails in an action
            brought under this section, the court shall award: (1) injunctive relief
            sufficient to prevent the defendant from violating this subchapter or
            engaging in acts that aid or abet violations of this subchapter;
            (2) statutory damages in an amount of not less than $10,000 for each
            abortion that the defendant performed or induced in violation of this
            subchapter, and for each abortion performed or induced in violation of
            this subchapter that the defendant aided or abetted;


4.   Plaintiff asserts that Plaintiff, suing on the admission of defendant, clearly will
     likely qualify as “prevaling party” (also qualifying for a TRO, which Plaintiff
     would agree, to in order for Texas Court(s) to have first call on the legality of a
     state statute), should this matter proceed under S.B. 8.


     However, prior to litigating that claim, Plaintiff has a conflict as to what law
     applies in this matter, Roe v Wade, 410 U.S. 113 (1972), or S.B. 8, in regards to
     inter alia, whether prosecuting this complaint under S.B. 8 would be in violation
     of Federal Law as espoused in Roe, which confirms that the protections against
     invasion of privacy cannot be infringed by any State.


5.   To wit, and underlying Plaintiff’s request for a declaratory judgement prior to
     proceeding under S.B. 8, a Plaintiff intending to pursue an S.B. 8 action must
     consider that he or she may in fact be infringing an established personal
     Constitutional Right, with assistance from Texas, which, if S.B. 8 were ruled
      illegal, might lead to a 42 USC 1985 lawsuit.


6.    Plaintiff asserts one major reason no practicing attorney has filed (in addition to
      a lack of witness/plaintiffs), is that an attorney has taken an oath to uphold and
      obey all valid laws, including the Texas and U.S. Constitution, and thus signing
      an S.B. 8 complaint, where there is already a TRO on Right to Life and any of its
      operatives (See 9.3.21 Judge Gamble Order in Planned Parenthood v Right to
      Life, D-1-GN-21-004632 (Travis Co, 53rd Dist), is something an attorney may not
      be willing to risk, until the conflict is resolved.


7.    Relatedly, Plaintiff here is respectful of the spirit of Her Honor Gamble’s just
      reviewed order, which by inference might be arguably extended to this
      complaint, and any complaint under S.B. 8, until the issues of whether S.B. 8 is
      legal under Federal Law is resolved.


8.    Plaintiff alleges that, by the letter of Federal Law, Defendant did not violate Roe
      v Wade, and that by that same letter, S.B. 8 appears to be Unconstitutional as
      written and as applied here until Roe v Wade is reversed or modified, or until a
      Texas or other Court clarifies and declares the relative import that a filing
      attorney or person need give to Roe when filing under S.B. 8.


9.    On information and belief Interpleader Defendants USA, Planned Parenthood
      and resident Defendant Braid oppose S.B. 8, and proposed additional party
      defendant Texas supports it, claiming an overriding interest in protecting “life”
      (despite it being the Law of the Land a fetus is not viable at 6 weeks and is not
      “alive”, albeit autonomous bodily functions have started) creating competing
      claims and interests, which could need to be determined before any suit can
      proceed under S.B. 8.


10.   USA is hereby joined as it has an interest, as an agent for The People, to speak
        to its interests in enforcing the Constitution as expressed in Roe v Wade, or
        against S.B. 8, as well as Texas, in favor thereof, on behalf of (some) of the
        majority of The People, implicating the UDJA and TRCP 39(2)(i), where issues,
        objections or supporting evidence not preserved on the trial record, where
        there was an opportunity to make that record, may be considered waived on
        appeal.


11.     Defendants Planned Parenthood and Dr. Braid face inconsistent obligations, the
        latter to his practice and patients and his oath, the former to its patients, and
        both also are obligated to try to obey conflicting Texas and Federal Law, as to
        how and when he can perform an abortion, thus implicating TRCP 39(2)(ii).


12.     Plaintiff also faces inconsistent obligations and multiple risks, as Roe v Wade
        would seem to bar this lawsuit (and potentially lead to sanctions for signing a
        complaint where the underlying law appears to violate the Constitution and a
        lawyer is charged with knowing that before trying to use a law to gain legal
        precedent or monetary gain), given Roe positively declares that abortions are
        legal under these facts, yet S.B. 8 attempts to assert the opposite, in ignorance
        of the Supremacy and Commerce Clauses, as well as the Right of a person to be
        inviolate in their bodies for government intrusion.


WHERFORE, PLAINTIFF seeks the Court Declare whether the TRO in Planned
Parenthood v Texas Right to Life, D-1-GN-21-004632 (Travis Co, 53rd Dist) should be
extended to this, and all other suits under S.B. 8 until the issues there, here, and in USA
v Texas, 21cv796, and other cases are decided, after briefing by the stakehol ders, as to
whether the Act is legal, and enforceable, under Federal Law, as written and/or as
applied to the instant facts.

Submitted By: s/ Fe
                  lipeGomez, Pro Se               Date: 09.23.21

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Associated Case Party: FelipeNGomez

Name            BarNumber Email                 TimestampSubmitted     Status

Felipe NGomez             fgomez9592@gmail.com 9/23/2021 10:52:11 PM   SENT
